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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE TRUSTEES OF PRINCETON

UNIVERSITY,
Plaintiff, |
‘Civil Action No.
Vv. | 3:19-cv-21248-BRM-LHG
TOD WILLIAMS BILLIE TSIEN : Motion Return Date:
ARCHITECTS, LLP; JACOBS : July 6, 2020

ARCHITECTS/ENGINEERS, INC.;
and JACOBS CONSULTANCY INC.,

Defendants.

 

TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP,

Defendant /!
Third-Party Plaintiff, |

Vv.

ARUP, USA, INC., THE
BALLINGER COMPANY, SEVERUD
ASSOCIATES CONSULTING :
ENGINEERS, P.C., FISHER ‘
MARANTZ STONE, FRANK HUBACH
ASSOCIATES, INC., F.J. SCIAME:
CONSTRUCTION COMPANY, INC.,
JOHN DOES 1-10 and ABC
CORPORATIONS 1-10,

Third-Party Defendants. |

 

BRIEF IN SUPPORT OF DEFENDANT TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP’S NOTICE OF MOTION FOR LEAVE TO FILE AN AMENDED
THIRD-PARTY COMPLAINT, AND ANSWER TO CROSS-COMPLAINT WITH THIRD-

PARTY COMLAINT, AND ANSWER TO COUNTERCLAIM WITH THIRD-PARTY
COMPLAINT

 
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I. INTRODUCTION

Defendant Tod Williams Billie Tsien Architects, LLP brings
this Motion for Leave to File an Amended Third-Party Complaint
seeking to join new parties as third-party defendants pursuant to
FED. R. CIV. P. 14, and an Answer to Cross-Complaint with Third-
Party Complaint for contribution and indemnification against the
existing parties and an Answer to Counterclaim with Third-Party
Complaint for contribution and indemnification against existing
parties pursuant to FED. R. CIV. P. 15. As more fully set forth
herein, these amendments are necessary to further the interests
of justice and judicial economy and allow Defendant Tod Williams
Billie Tsien Architects, LLP to join new parties as third-party
defendants, and respond to affirmative claims and seek recovery
by way of contribution and indemnification against other parties
since such claims are directly intertwined with the other issues
pending before the Court in this action. Additionally, the other
parties to the case will not suffer any prejudice by the filing
of these amendments. Accordingly, Defendant Tod Williams Billie
Tsien Architects, LLP respectfully requests this Court grant its
Motion.

II. STATEMENT OF FACTS AND PROCEDURAL HISTORY

Plaintiff filed its Complaint against Defendants Tod
Williams Billie Tsien Architects, LLP (“TWBTA”), and Jacobs

Architects/Engineers, Inc. and Jacobs Consultancy, Inc. (“Jacobs
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Entities”), on December 10, 2019. (Dkt. No. 1). The Jacobs
Entities filed their Answer to the Complaint along with a
Counterclaim against Plaintiff and a Cross-Complaint against
TWBTA on January 21, 2020. (Dkt. No. 7). Defendant TWBTA filed
its Answer to the Complaint on January 22, 2020 (Dkt. No. 9),
The Answer contained a general denial of any crossclaims but did
not specifically respond to the Jacobs Entities’ Cross-
Complaint.

Defendant TWBTA filed a Third-Party Complaint against Arup
USA, Inc. (“Arup”) and F.J. Sciame Construction Company, Inc. on
February 14, 2020. (Dkt. No. 17). Third-Party Defendant Arup
filed its Answer along with a Counterclaim against TWBTA on
April 9, 2020. (Dkt. No. 30). TWBTA did not file an answer to
the Counterclaim on time due to insurance coverage issues.

Pursuant to the Court’s Scheduling Order dated May 13,
2020, all motions to amend pleadings to add claims or new
parties must be filed by June 12, 2020. (Dkt. No. 35)1. To date,
the parties have not exchanged any discovery or even Rule 26

disclosures.

 

' The Scheduling Order was clarified accordingly by the court’s email dated June 4, 2020 attached to the
Certification of Counsel as Exhibit “1”.
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III. LEGAL ARGUMENT

PLAINTIFFS’ REQUEST FOR LEAVE TO AMEND SHOULD BE
GRANTED.

Federal Rule of Civil Procedure 14 (a) (1) provides, in
relevant part, that a “defending party may, as third-party
plaintiff, serve a summons and complaint on a non-party who is
or may be liable to it for all or part of the claim against it.
But the third-party plaintiff must, by motion, obtain the
court's leave if it files the third-party complaint more than 14
days after serving its original answer.” Under this Rule, leave
of court is appropriate when the third-party claim is premised
on “a theory upon which the third-party defendant can be liable
to the third-party plaintiff under some theory of secondary
liability, i.e., indemnification, contribution, or some other
theory of derivative liability recognized by relevant
substantive law.” See Ronson v. David S. Talesnick, CPA, 33 F.
Supp. 2d 347, 356-57 (D.N.J. 1999).

The purpose of New Jersey’s Joint Tortfeasors Contribution
Law, N.J.S.A. 2A:53A-1 to -5 (“JTCL”), is “to promote fair
sharing of the burden of judgment by joint tortfeasors and to
prevent a plaintiff from arbitrarily selecting his or her

victim.” Holloway v. State, 125 N.J. 386, 400-01 (1991)

 

(citations omitted). The JTCL is further designed to “alleviate

the evident harshness and inequity of the common-law rule ...
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pursuant to which there was no right of joint tortfeasors to
seek allocation among themselves of the burden of their fault.”
Markey v. Skog, 129 N.J. Super. 192, 199 (Law Div.1974). Thus,
under the JTCL, as modified by the Comparative Negligence Act,
N.J.S.A,. 2A:15-5.1 to -5.3, joint tortfeasors “bear their just
shares of the burden [of liability] .. on the basis of proportion
of fault as determined by the trier of fact.” Dunn v. Praiss,
139 N.J. 564, 575-76 (1995) (citations omitted). Joint liability
is appropriate between different wrongdoers, even when the
claims against one are based in negligence and the claims
against the other sound in contract, strict liability,
intentional tort or breach of warranty. See Id. at 576-78.

Here, TWBTA seeks leave to file an Amended Third-Party
Complaint to assert contribution and indemnification claims
against several of its subconsultants on the project, given the
allegations raised in the Complaint, which takes issue with
various services, design, recommendations, and advice that were
the responsibility of TWBTA as the architect for the project,
and which in turn implicates the services of TWBTA’s
subconsultants. Accordingly, TWBTA is entitled to seek

contribution and/or indemnification from those subconsultants;
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therefore, leave should be granted to file the Amended Third-
Party Complaint against some or all of the additional parties.?
Federal Rule of Civil Procedure Rule 15, which governs
requests for leave to amend pleadings, provides that leave shall
be “freely give[n]” when “justice so requires.” FED. R. CIV. P.
15(a) (2). Acknowledging the liberal policy underlying this rule,
both the U.S. Supreme Court and the Third Circuit have
recognized a general presumption in favor of allowing a party to
amend its pleadings. See Foman v. Davis, 371 U.S. 178, 182
(1962) (“If the underlying facts or circumstances relied upon by
a plaintiff may be a proper subject of relief, he ought to be
afforded an opportunity to test his claim on the merits.”); Ww.
Run Student Hous. Assocs., LLC v. Huntington Nat’1l Bank, 712
F.3d 165, 171 (3d Cir. 2013) (“A liberal policy toward allowing
amendments to correct errors in the pleadings clearly is
desirable and furthers one of the basic objectives of the
federal rules—the determination of cases on their merits.”
(quoting 6 CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL
PRACTICE & PROCEDURE § 1474 (3d ed. 2008)); Boileau v. Bethlehem
Steel Corp., 730 F.2d 929, 938 (3d Cir. 1984) (noting a “general
presumption in favor of allowing a party to amend pleadings”).

“It is well-settled . . . that, ‘leave to amend should be

 

? TWBTA is still reviewing voluminous documentation, including over 400 change orders to determine whether any
of the proposed third-party defendants should be not be named in the Amended Third-Party Complaint for a few
reasons including whether the amount of potential contribution and indemnification justifies pursuing those claims.
The decision will be made within the time permitted to file the amended pleading should this motion be granted.

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granted freely . . . and court[s] should use ‘strong liberality’
in considering whether to grant leave to amend.’” Disability
Rights N.J., Inc. v. Velez, 862 F. Supp. 2d 366, 370 (D.N.J.
2012) (quoting Sutton v. New Century Fin. Servs., 05-3125, 2006
WL 3676306, at *1 (D.N.J. Dec. 11, 2006)).

“The burden is generally on the party opposing the amendment
to demonstrate why the amendment should not be permitted.” Shire

LLC v. Amneal Pharm., LLC, No. 11-3781, 2012 WL 12909909, at *2

 

(D.N.J. Dec. 28, 2012) (citing Foman, 371 U.S. at 178). Although
courts have recognized a limited number of “permissible
justifications” for denying leave to amend, “fo]nly when these
factors suggest that amendment would be ‘unjust’ should the court
deny leave.” Arthur v. Maersk, Inc., 434 F.3d 196, 203 (3d Cir.
2006); Riley v. Taylor, 62 F.3d 86, 90 (3d Cir. 1995)
(“Permissible justifications include: (1) undue delay; (2) bad
faith or dilatory motive; (3) undue prejudice to the opposition;
(4) repeated failures to correct deficiencies with previous
amendments; and (5) futility of the amendment.”) (citing Foman,
371 U.S. at 182). None of these factors are present here, and
TWBTA therefore respectfully requests that leave to amend be

granted.
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Iv. CONCLUSION
For these reasons, defendant Tod Williams Billie Tsien
Architects, LLP respectfully requests that the Court grant leave
to file the requested amended pleadings.
Respectfully submitted,

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